           Case 3:21-cr-00027-WHA Document 72 Filed 05/10/23 Page 1 of 3



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 4
     Attorney for Plaintiff
 5   ARDIT FERIZI
 6                             UNITED STATES DISTRICT COURT
 7                            NORTHERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                 )      Case No. 3:21-CR-00027-WHA
 9                                             )
                          Plaintiff,           )
10                                             )      ADMINISTRATIVE MOTION TO
     v.                                        )      CONSIDER WHETHER CASES
11                                             )      SHOULD BE RELATED
     ARDIT FERIZI,                             )      (Civil Local Rules 7-11 and 3-12)
12                                             )
                          Defendant.           )
13                                             )
14           COMES NOW Plaintiff, by and through his attorney of record, and hereby
15   moves this Court to deem the instant action related to a civil action filed under the
16   Federal Tort Claims Act entitled Ardit Ferizi v. United States of America Case No.
17   3:23-cv-02250-TSH (the “newly filed action”), within the meaning of Civil Local Rule
18   3-12(a).
19           The instant action is related to the newly filed action because the newly filed
20   action is a Federal Tort Claims Act suit alleging malicious prosecution in the filing and
21   prosecution of the instant action.
22           The instant action is also related to United States v. Ardit Ferizi, Eastern District
23   of Virginia in Case No. 1:16-CR-00042-LMB because the prosecution in the instant
24   action was maliciously commenced in order to interfere with that Court’s Order that
25   Plaintiff be released from custody pursuant to a pro se request for "compassionate
26   release" under 18 U.S.C. § 3582(c).
27           WHEREFORE, Plaintiff prays the Court reassign the newly filed matter, Case
28   ///
        Case 3:21-cr-00027-WHA Document 72 Filed 05/10/23 Page 2 of 3



 1   No. 3:23-cv-02250-TSH to Senior U.S. District Judge William H. Alsup.
 2                                                Respectfully Submitted,
 3   Dated: May 10, 2023                          s/Keith H. Rutman
                                                  KEITH H. RUTMAN
 4                                                Attorney for Plaintiff
                                                  Email: krutman@krutmanlaw.com
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 1                                    PROOF OF SERVICE
 2   I, the undersigned, declare under penalty of perjury that I am over the age of eighteen
     years and not a party to this action. That my business address is 402 West Broadway,
 3   Suite 2010 San Diego, California 92101. That on May 10, 2023 I served a copy of
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER CASES SHOULD
 4   BE RELATED; DECLARATION OF KEITH H. RUTMAN by delivering a copy
     to each of the names and addresses listed below via email:
 5
     Gail K. Johnson, Esq.
 6   Supervisory Trial Counsel
     U.S. Department of Justice
 7   Gail.K.Johnson@usdoj.gov
 8   I further certify that on May 10, 2023 I electronically filed the foregoing document
     with the clerk of court for the U.S. District Court, Northern District of California, using
 9   the electronic case filing (ECF) system of the Court, and thereby served it on all
     counsel of record in this particular case.
10
11   Executed under penalty of perjury under the laws of the United States on May 10,
     2023 at San Diego, California.
12
13
     KEITH H. RUTMAN
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